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 4   Telephone: (559) 497-4000

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 8                IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,          )       1:12-CR-00299 LJO-SKO
                                        )
12                  Plaintiff,          )
                                        )
13        v.                            )       STIPULATION TO
                                        )       ADVANCE HEARING AND
14                                      )       ORDER
     SALVADOR GALLEGOS, JR.,            )
15                                      )
                                        )
16                                      )
                    Defendant.          )
17   ___________________________________)

18          Defendant, by and through his attorney, PETER JONES, and the

19   United States of America, by and through its attorneys, BENJAMIN

20   B. WAGNER, United States Attorney, and KAREN A. ESCOBAR, Assistant

21   United States Attorney, hereby enter into the following

22   stipulation:

23          The parties to the above-captioned matter agree to advance

24   the February 4, 2013, hearing date as to this defendant and reset

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26   ////

27   ////

28   ////

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 1   the matter for a change of plea on Tuesday, January 22, 2013, at

 2   8:30 a.m.

 3   DATED: January 9, 2013                      Respectfully submitted,

 4                                               BENJAMIN B. WAGNER
                                                 United States Attorney
 5
                                                 By: /s/ Karen A. Escobar
 6                                                 KAREN A. ESCOBAR
                                                 Assistant U.S. Attorney
 7
                                                  /s/ Peter Jones
 8                                                PETER JONES
                                                  Attorney for Defendant
 9                                                Salvador Gallegos, Jr.

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11
                                   O R D E R
12
              Having read and considered the foregoing stipulation,
13
              IT IS THE ORDER of the Court that the current hearing date of
14
     February 4, 2013, as to the above-named defendant, is hereby
15
     advanced to January 22, 2013, at 8:30 a.m. for a change of plea.
16
     IT IS SO ORDERED.
17
     Dated:     January 9, 2013        /s/ Lawrence J. O'Neill  B9ed48
18                                    UNITED STATES DISTRICT JUDGE

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